                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR07-3039-MWB
 vs.                                     ORDER CONCERNING
                                     MAGISTRATE’S REPORT AND
 JOSE JUAN ISLAS-BRAVO,            RECOMMENDATION REGARDING
                                       DEFENDANT’S MOTION TO
           Defendant.                        SUPPRESS
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                      I. INTRODUCTION AND BACKGROUND
       On October 26, 2007, a superseding indictment was returned against defendant Jose
Juan Islas-Bravo charging him with conspiracy to distribute and possess 500 grams or more
of methamphetamine with intent to distribute, in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(A) and 846, possessing 5 grams or more of pure methamphetamine with intent
to distribute, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B), and 18 U.S.C. § 2,
and unlawfully entering the United States, in violation of 8 U.S.C. § 1325(a). Defendant
Islas-Bravo has filed a motion to suppress evidence arising from his arrest, detention, and
interrogation on August 8, 2007, as well as evidence found during a search of an
automobile in which defendant Islas-Bravo had been a passenger. Defendant Islas-Bravo
contends that the evidence should be suppressed because law enforcement officers lacked
probable cause to stop the vehicle in which he was a passenger, and that his subsequent
arrest was done without an arrest warrant or probable cause.
       Defendant Islas-Bravo’s motion to suppress was referred to Chief United States




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Magistrate Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). On December 3, 2007,
Judge Zoss filed a Report and Recommendation in which he recommends that defendant
Islas-Bravo’s motion to suppress be denied. Judge Zoss concluded that law enforcement
officers had probable cause to stop the vehicle in which defendant Islas-Bravo was riding
and to arrest him following that stop. Neither the government nor defendant Islas-Bravo
have filed objections to Judge Zoss’s Report and Recommendation.


                                II. LEGAL ANALYSIS
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
             Any party that desires plenary consideration by the Article III
             judge of any issue need only ask. Moreover, while the statute
             does not require the judge to review an issue de novo if no
             objections are filed, it does not preclude further review by the
             district judge, sua sponte or at the request of a party, under a
             de novo or any other standard.

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Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation.       Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Zoss’s Report and Recommendation of December 3, 2007, and orders
that defendant Islas-Bravo’s motion to suppress is denied.




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  IT IS SO ORDERED.
  DATED this 21st day of December, 2007.


                                      __________________________________
                                      MARK W. BENNETT
                                      U. S. DISTRICT COURT JUDGE
                                      NORTHERN DISTRICT OF IOWA




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